                                          3:18-cr-30043-SEM-TSH # 144                      Page 1 of 1
                                                                                                                             E-FILED
Order on Implementation of SentencingGuidelines SPR( February 2015 v.2)                             Sunday, 18 July, 2021 10:13:46 PM
                                                                                                        Clerk, U.S. District Court, ILCD
                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Central District of Illinois

UNITED STATES OF AMERICA,                                     )
                                                              )
                                                              )
                               vs.                            )           Case Number: 18-30043
NATHANIEL STONE                                               )
                                                              )
                                                              )


                         ORDER ON IMPLEMENTATION OF SENTENCING GUIDELINES

        Counsel are allowed fourteen (14) days, beginning on the date of receipt of the Presentence Report,
to communicate, in writing, to the probation officer and to opposing counsel, any objections to any material
information contained in, or omitted from, the report. If there are no objections to the contents of the
report, this also must be communicated to the probation office and to opposing counsel, in writing, within
fourteen (14) days. The AUSA and defense counsel are requested to meet with the probation officer and
make a good faith effort to resolve the objections. The probation office may also conduct further
investigation and either revise the report or prepare an addendum addressing all unresolved objections. See
Federal Rule of Criminal Procedure 32(f); Local Rule 32.1.
        Further, counsel shall file a pleading with the Court, under seal, with a copy to opposing counsel and
to the probation officer, entitled “[Party’s] Commentary on Sentencing Factors.” The Government's
commentary shall be filed at least four (4) working days prior to the sentencing hearing, and the
Defendant's commentary shall be filed at least two (2) working days prior to the sentencing hearing. This
pleading shall address any sentencing factors that a party intends to raise at the hearing, such as the
appropriateness of a sentence which is above or below the Guideline range, and any unresolved objections
not adequately resolved by the probation office’s addendum to the Presentence Report. Such issues shall
be accompanied by a supporting memorandum of law. If parties do not wish to raise any objections or
special sentencing factors, they shall so state in their Commentaries. Commentaries shall also state the
duration of the sentence that a party plans to request at the sentencing hearing. Lastly, if parties intend to
present sworn testimony at the sentencing hearing, they must include a notice of proposed witnesses, the
subject of the witnesses’ testimony, and the projected length of the testimony in the Commentary.
Counsels’ adherence to this deadline will enable the Court to schedule sufficient time for the hearing and
minimize the inconvenience to witnesses.
        This implementation timetable will be strictly followed, as a failure to meet a deadline impacts all
subsequent deadlines, which, in turn, could necessitate continuing the sentencing hearing.


ENTERED: 07/15/2021


                                                              s/Tom Schanzle-Haskins
                                                              ________________________________
                                                              TOM SCHANZLE-HASKINS
                                                              UNITED STATES MAGISTRATE JUDGE
